
PER CURIAM: *
The attorney appointed to represent Rafael Gabriel Linares has moved for leave to withdraw and has filed a brief in accordance with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), and United States v. Flores, 632 F.3d 229 (5th Cir.2011). Linares has filed a response and two supplemental responses. We have reviewed counsel’s brief and the relevant portions of the record reflected therein, as well as Linares’s response and supplemental responses. We concur with counsel’s assessment that the appeal presents no nonfrivolous issue for appellate review. Accordingly, counsel’s motion for leave to withdraw is GRANTED, counsel is excused from further responsibilities herein, and the APPEAL IS DISMISSED. See 5th Cir. R. 42.2.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under *483the limited circumstances set forth in 5th Cir. R. 47.5.4.

